     Case 16-90899         Doc 140        Filed 04/18/18 Entered 04/18/18 12:45:23              Desc Notice of
                                              Hearing-BK Page 1 of 1
Form ntchrgBK

                                    UNITED STATES BANKRUPTCY COURT
                                           Central District of Illinois
                                             203 U.S. Courthouse
                                              201 S. Vine Street
                                              Urbana, IL 61802


In Re:    Robert William Woodard                            Case No.: 16−90899
          Debtor
                                                            Chapter: 7

PLEASE TAKE NOTICE that a Hearing will be held at

      U.S. Courthouse, Courtroom C, 1st Floor, 201 S. Vine Street, Urbana, IL 61802

      on 5/2/18 at 10:00 AM

to consider and act upon the following:

Trustees Petition for Adjudication of Contempt against respondents Robb J Perry, Linda S. Perry, Brian O. Watson
and Erich P. Nathe and any objections thereto.


Dated: 4/18/18


                                                     /S/ Adrienne D. Atkins
                                                    Clerk, U.S. Bankruptcy Court



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